                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI


 VAZQUEZ COMMERCIAL                         )
 CONTRACTING, LLC                           )
                                            )
                  Plaintiff                 )
                                            )
 vs.                                        ) Case No. __________________________
                                            )
 ZIESON CONSTRUCTION                        )
 COMPANY, LLC; SIMCON CORP.;                )
 ONSITE CONSTRUCTION GROUP,                 )
 LLC; TORGESON ELECTRIC                     )
 COMPANY, INC.; MCPHERSON                   )
 CONTRACTORS, LLC; MLT                      )
 INVESTMENTS, LLC; METS, LLC;               )
 HAAVIG & ASSOCIATES, L.L.C.;               )
 ZURICH AMERICAN INSURANCE                  )
 COMPANY; CHPB Sub 1, LLC F/K/A             )
 TRUSS, LLC; MATTHEW                        )
 TORGESON; MICHAEL PATRICK                  )
 DINGLE; MATTHEW MCPHERSON;                 )
 STEPHON ZIEGLER; RUSTIN                    )
 SIMON; JACOB BAUCOM; MONICA                )
 HAAVIG.

                  Defendants.


                                  NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, and 18 U.S.C. § 1965, Defendant Zurich

American Insurance Company (“Zurich”), hereby removes the above-captioned matter, originally

filed in the Circuit Court of Jackson County, Missouri as case number 2016-CV11380, to the

United States District Court for the Western District of Missouri. The grounds for removal are as

follows.




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  I.   NATURE OF ALLEGATIONS

       1.       On May 1, 2020, Plaintiff Vazquez Commercial Contracting, LLC (“Plaintiff”)

commenced the present lawsuit by filing a Petition for Damages (the “Petition”) in the Circuit

Court of Jackson County, Missouri, at Independence, see Vazquez Commercial Contracting, LLC

v. Zieson Construction Co., LLC, et al., 2016-CV11380 (the “State Court Action”). Pursuant to

28 U.S.C. § 1446(a), a true and correct copy of the Petition, together with “all process, pleadings,

and orders” on file in the state Court, are attached hereto as Exhibit A.

       2.       Zurich was served with the summons and a copy of the Petition through its

registered agent, the Director of the Missouri Department of Commerce and Insurance

(“Director”), on or about May 15, 2020. See Ex. A, 93–94.

       3.       The Petition alleges a conspiracy to fraudulently present two “front” companies—

defendants Simcon Corp. (“Simcon”) and Zieson Construction Company LLC (“Zieson”)—as

Service-Disabled Veteran-Owned Small Businesses (or “SDVOSBs”) in order to obtain federal

“set aside” contracts, which are construction contracts reserved to minority- and veteran-owned

businesses under a complex federal regulatory scheme administered by the federal government.

Ex A, Petition ¶ 24.

       4.       Plaintiff is a third-party SDVOSB contractor who claims to have lost a bid against

defendant Simcon for a set-aside contract with the U.S. Army Corps of Engineers (“USACE”) in

September 2016. Id. ¶¶ 57–60. Based on this single incident, Plaintiff now brings a host of claims

against 17 defendants, including multiple claims under the federal Racketeer Influenced and

Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962.




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          5.       Plaintiff’s claims against Zurich (including the RICO claim) are predicated solely

on its underwriting and issuance of federally mandated “surety” bonds to Simcon.1

    II.   GROUNDS FOR REMOVAL

          A. This Court Has Jurisdiction over Plaintiff’s Claims.

          6.       Plaintiff alleges federal RICO claims against “[a]ll defendants,” including Zurich.

Ex. A, Pet. ¶ 72(a) (Count I); see also id. ¶¶ 71–91 (Counts I–III). Therefore, this Court has federal

question jurisdiction over those RICO claims pursuant to 28 U.S.C. § 1331.

          7.       This Court has supplemental jurisdiction under 28 U.S.C. § 1367(a) over all

remaining claims in the Petition. A court has supplemental jurisdiction over any claims that form

part of the same case or controversy as those claims over which the Court has original jurisdiction.

Separate claims form part of the same case or controversy when they involve “a common nucleus

of operative fact[s]” such that a plaintiff “would ordinarily be expected to try them all in one

judicial proceeding.” United Mine Workers v. Gibbs, 383 U.S. 715, 725 (1966).

          8.       Here, as described above, all of Plaintiff’s claims are predicated on the same

nucleus of facts—i.e., on the alleged fraudulent scheme to use SDVOSB “shell companies”

(Simcon and Zieson) to obtain government set-aside contracts to which those companies were not

qualified. Accordingly, the Court has supplemental jurisdiction over the state-law claims alleged

in the Petition (¶¶ 92–140).

          9.       Because the Court has original or supplemental jurisdiction over all of Plaintiff’s

claims, the case is removable pursuant to 28 U.S.C. § 1441(c).




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  The Miller Act, 40 U.S.C. § 3131, et. seq., requires a contractor awarded a contract of more
than $100,000 to furnish to the government specified performance and payment bonds. These
surety bonds guarantee the completion of the contract and payment for the labor and materials if
the contractor defaults on its obligations.
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       B. Zurich Is Entitled to Remove This Case Irrespective of Other Defendants’
          Consent; But in any Event, All But One of the Served Defendants Consent to
          Removal.

       10.     As contemplated by 28 U.S.C. § 1446, Zurich has sought and obtained consent to

removal of all co-defendants that have been properly served and appeared to date, with the sole

exception of defendant Michael Patrick Dingle and Rustin Simon. Through counsel, Mr. Dingle

refused on May 29, 2020 to consent to the present Notice of Removal of this present action. As

of the time of filing, counsel for Mr. Simon had not provided a final response regarding consent

but had indicated that her client was likely not willing to consent.

       11.     Neither Mr. Dingle’s nor Mr. Simon’s consent is required for removal, however,

because Plaintiff’s RICO claims trigger a statutory exception to the default rule of unanimous

consent. 14C Fed. Prac. & Proc. Juris. § 3730 (Rev. 4th ed.) (recognizing that Congress may by

statute create exceptions to the unanimous consent rule).

       12.     In a section entitled “Venue and Process,” RICO provides that “[a]ny civil action

proceeding brought under [RICO] against any person may be instituted in the district court of the

United States for any district in which such person resides, is found, has an agent, or transacts his

affairs.” 18 U.S.C. § 1965(a) (emphasis added). That text plainly contemplates that a federal

venue will be available in “any” RICO action, and confers an absolute right on any party in a RICO

case to “institute[]” federal court proceedings, including by filing a notice of removal.

       13.     In construing this plain text, the Court “must (as usual) interpret the relevant words

not in a vacuum, but with reference to the statutory context, ‘structure, history, and purpose.’”

Abramski v. United States, 573 U.S. 169, 179 (2014) (quoting Maracich v. Spears, 570 U.S. 48,

76 (2013)). Those tools confirm that Congress intended to confer an absolute right to invoke a

federal forum on all parties in RICO actions.



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       14.     To start, both RICO’s venue and civil remedies provisions contemplate only federal

court actions to enforce RICO claims. See 18 U.S.C. § 1965 (Venue) (stating repeatedly that

actions may be brought in “district court” to enforce RICO claims); id. § 1964(a) (Civil

Enforcement) (“The district courts of the United States shall have jurisdiction to prevent and

restrain violations of section 1962 of this chapter.”). Neither even considers the possibility of

state-court proceedings.

       15.     This language is no coincidence; Congress’s “clear legislative intent [was] to

pattern RICO’s civil enforcement provision on the Clayton Act.” Agency Holding Corp. v.

Malley–Duff & Associates, 483 U.S. 143, 143 (1987) (“Even a cursory comparison of the two

statutes reveals that the civil action provision of RICO was patterned after the Clayton Act”);

Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 489 (1985) (“clearest current” in RICO’s “legislative

history is the reliance on the Clayton Act model”). RICO’s civil enforcement provision was lifted

nearly verbatim from the then-current Section 4 of the Clayton Act. See 15 U.S.C. § 15 (1970).

And Congress explicitly stated that RICO’s “venue and process” provision was “modeled on

present antitrust legislation [i.e., referring to the Clayton Act].” H.R. REP. No. 91-1549 (1970),

as reprinted in 1970 U.S.C.C.A.N. 4007, 4034, 1970 WL 5695.

       16.     That is relevant because the Clayton Act vests exclusive jurisdiction over all claims

in federal courts. Though RICO’s nearly identical language has been held not to fully divest state

courts of concurrent jurisdiction (at least not where all parties prefer to remain in state court),

Congress’s deliberate and consistent emphasis on the availability of federal courts in RICO cases

reflects a clear intent to permit any defendant at least to remove an action to federal court where

RICO claims are involved.




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       17.     Any contrary application would be incompatible with RICO’s fundamentally

criminal character and obstruct the purpose of RICO and its venue provision in particular.

       18.     In enacting the Organized Crime Control Act of 1970, which created RICO,

Congress specifically sought to address a perceived problem of “national dimensions” by

“mov[ing] large substantive areas formerly totally within the police power of the State into the

Federal realm.” United States v. Turkette, 452 U.S. 576, 586–87 (1981) (collecting citations to

legislative history). In other words, RICO is fundamentally a criminal statute, over which “[t]he

district courts of the United States … have original jurisdiction, exclusive of the courts of the

States.” 18 U.S.C. § 3231 (emphasis added). Though RICO’s civil enforcement provision does

not technically fall within the scope of Section 3231, that provision must be interpreted with this

backdrop in mind.

       19.     RICO contains other unique features reflecting a strong intent that federal courts be

available in RICO cases. In addition to the provisions discussed above, RICO’s venue statute

provides for nationwide subpoena power over witnesses and other parties in RICO cases whenever

“it is shown that the ends of justice require that other part[y] … be brought before the court.” 18

U.S.C. § 1965(b); see also id. § 1965(c)–(d). As the Department of Justice’s Civil RICO guidance

recognizes, the purpose of this statutorily specified venue “‘is to protect the defendant against the

risk that a plaintiff will select an unfair or inconvenient place of trial.’” DOJ, Civil RICO: A

Manual for Federal Attorneys, 88 (Oct. 2007) (emphasis in original) (quoting Leroy v. Great W.

United Corp., 443 U.S. 173, 183–84 (1979)). But that procedural tool is available only in federal

court. It would therefore obstruct Congress’s manifest intent to force defendants who wish to

proceed in federal court to instead stay in state court, thereby depriving them of the procedural

tools Congress provided.



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       20.      For all these reasons, RICO reflects an unambiguous intent to override the default

rule of unanimous consent to removal and instead to permit any defendant to “institute” federal

court proceedings by removing a RICO action. Zurich has properly exercised that right.

       C. Removal to this District Is Otherwise Proper.

       1.       Zurich’s Notice of Removal is timely. A “notice of removal of a civil action or

proceeding [must] be filed within 30 days after the receipt by the defendant, through service or

otherwise, of a copy of the initial pleading setting forth the claim for relief ….” 28 U.S.C. § 1446.

       2.       As described above, Plaintiff served a copy of the Summons and Petition on Zurich

via the Director on May 15, 2020. Thirty days from May 15, 2020 is June 14, 2020. But because

June 14, 2020 is a Sunday, the deadline for Zurich to file its Notice of Removal is extended to

Monday, June 15, 2020. Fed. R. Civ. Proc. 6(a)(1)(C) (“[I]f the last day is a Saturday, Sunday, or

legal holiday, the period continues to run until the end of the next day that is not a Saturday,

Sunday, or legal holiday”).

       3.       Venue in this Court is proper: This Notice of Removal is filed in the District Court

of the United States for the district and division in which the case is pending. See 28 U.S.C. §§

1441, 1446(a). Specifically, the United States District Court for the Western District of Missouri

encompasses the location (Jackson County, Missouri) where the State Court action is pending. 28

U.S.C. § 105.

       4.       Zurich has attached a copy of all “process, pleadings, and orders served upon” all

defendants in this action, as well as a copy of the state court’s docket sheet to this Notice of

Removal. See Ex. A.

       5.       Zurich has provided Plaintiff with written notice of this Notice of Removal, as

required by 28 U.S.C. § 1446(d), by service on counsel.



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       6.       Pursuant to 28 U.S.C. § 1446(d), Zurich is filing a copy of this Notice of Removal

with the Clerk of the Circuit Court of Jackson County, Missouri.

       WHEREFORE, Zurich respectfully requests that this action now pending in the Circuit

Court of Jackson County, State of Missouri be removed to this Court, that this Court exercise its

subject-matter jurisdiction over this action, and that the Court grant such other and further relief

as it deems just and proper.

Dated: June 15, 2020                  Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 15, 2020, a copy of the foregoing Notice of
Removal was electronically filed with the Court using the Court’s ECF system which sent copies
of the same to all attorneys of record as follows:

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